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                       EXHIBIT H
           Case: 1:18-cv-00864 Document #: 631-8 Filed: 04/17/19 Page 2 of 3 PageID #:24177


Stein, Micah D.

From:                                    Aundrea K Gulley <agulley@gibbsbruns.com>
Sent:                                    Thursday, March 14, 2019 10:53 AM
To:                                      SERVICE-EXTERNAL-DMS-MDL
Cc:                                      Reynolds Team
Subject:                                 RE: In Re DMS: Defendants' Fact Witness Correspondence


**EXTERNAL SENDER**

Counsel,

Plaintiffs have not confirmed or suggested alternative dates within the discovery period for the party depositions
identified on March 6 (below). Please do so promptly. Pursuant to the Deposition Protocol Order these were due
yesterday, and as you know we are facing significant scheduling challenges.

Thank you,
Andi


Aundrea K. Gulley | Gibbs & Bruns LLP | 1100 Louisiana Suite 5300 | Houston, TX 77002 | 713.650.8805 firm | 713.751.5258 direct | 713.750.0903
fax | agulley@gibbsbruns.com | www.gibbsbruns.com




From: Aundrea K Gulley
Sent: Wednesday, March 6, 2019 10:34 PM
To: SERVICE-EXTERNAL-DMS-MDL <SERVICE-EXTERNAL-DMS-MDL@lists.kellogghansen.com>
Cc: Reynolds Team <reynoldsteam@gibbsbruns.com>
Subject: In Re DMS: Defendants' Fact Witness Correspondence


Counsel,

In addition to the witnesses previously discussed, and pursuant to our agreement on Wednesday, February 27,
Defendants nominate the following additional party and non-party witnesses for deposition as follows:

Parties:
    1. Two Cox Rep depositions (see single combined notice, but Defendants expect this will take two days and count
         as two). Requested for April 25-26.
    2. Authenticom Rep regarding data and related issues (see attached notice). Requested for April 16.
    3. Autoloop Rep regarding data and related issues (see attached notice). Requested for April 10.
    4. Cox Rep regarding data and related issues (see attached notice). Requested for April 4. *Please note that even if
         this date is rejected, Defendants request that this deposition occur at least 14 days before the deposition(s)
         requested in #1.
    5. As discussed at the meeting last week, Defendants withdraw their request for Mr. Bennick and instead request
         Neal East (Xtime) on April 15.

Non Parties:
   1. William Lamm. (Represented by Kellogg). Requested for April 8.
                                                                       1
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    2. Patrick McKinley. Mr. McKinley is available on April 23 in Peoria, Illinois.
    3. Accel-KKR Corporate Rep. This notice was circulated earlier today with a requested date of April 16.
    4. National Automotive Dealers Association Rep. This notice was circulated earlier today with a requested date of
       April 30.
    5. Serra Automotive Inc. Rep. Notice forthcoming with a requested date of March 26.
    6. David Brookshire. Notice forthcoming with a requested date of April 1.

Thank you,
Andi

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